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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________


UNITED STATES OF AMERICA

       v.                                                         19-CR-227-JLS

PETER GERACE, JR.,

                        Defendant.
______________________________________________



 NOTICE OF MOTION FOR AN INJUNCTION OF A CIVIL ACTION FILED IN
STATE OF NEW YORK, SUPREME COURT, COUNTY OF ERIE AND ASSIGNED
                    INDEX NUMBER 812394/2020


       PLEASE TAKE NOTICE that on the basis of the ex parte and sealed affidavit of

Joseph M. Tripi, Assistant United States Attorney, dated April 23, 2021 and supporting

papers, the United States hereby moves the Court, pursuant to the Court’s inherent authority,

the All Writs Act, Federal Rule of Criminal Procedure 6(e) (relating to Grand Jury secrecy),

Federal Rule of Criminal Procedure Rule 16 (relating to criminal discovery), Title 18, United

States Code, Section 3500, and in the interests of privacy and dignity of federal Grand Jury

victims and witnesses, to:

       (1)    Conduct an in camera review of the information provided in the April 23, 2021,

affidavit of Assistant United States Attorney Joseph M. Tripi and the exhibits annexed

thereto;

       (2)    Issue an injunction staying all proceedings in a civil action filed in the State of

New York, Supreme Court, County of Erie and assigned Index Number 812394/2020 (the

“State Action”), until further order of the Court; or, in the alternative, for an Order staying
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all discovery in the state civil action filed in the State of New York, Supreme Court, County

of Erie and assigned Index Number 812394/2020 until further Order of the Court;

       (3)    Permit the United States Attorney’s Office to serve copies of this Court’s Order

issuing an injunction upon counsel for Peter Gerace Jr., and upon any judge, or the staff of

any judge, presiding in the State Action;

       (4)    Permit the United States Attorney’s Office to provide copies of this Court’s

Order issuing an injunction to the defendants in the State Action, and/or to their attorneys;

and

       (5)    Enter an Order directing that the facts and events not be disclosed and that the

affidavit and all associated exhibits be sealed and preserved in the records of the Court in the

event of an appeal.



       DATED: Buffalo, New York, April 29, 2021.



                                            JAMES P. KENNEDY, JR.
                                            United States Attorney


                                    BY:     S/JOSEPH M. TRIPI
                                            Assistant United States Attorney
                                            United States Attorney’s Office
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